    Case 1:19-cr-00057-LO Document 125 Filed 09/19/19 Page 1 of 4 PageID# 659



                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division


UNITED STATES OF AMERICA,                    )
                                             )
                                             )   Case No: 1:19-cr-00057-LO
       v.                                    )
                                             )
PETER LE, et al.                             )
                                             )
               Defendant.                    )

            Defendant’s Motion to Dismiss Count 1, Paragraphs (2) (3) (7) and (12)
                 and Counts 24 and 25 of the Third Superseding Indictment
                As Said Counts and Paragraphs Violate 21 U. S. C. § 812(b)(1).

       COMES NOW defendant Spencer Pak, by and through counsel, Alan J. Cilman, and

respectfully moves this Court to dismiss the charges set forth in Count 1, paragraphs 2, 3, 7 and

12, and, Counts 24 and 25 of the third superseding indictment. As grounds for this motion,

Defendant states:

       1. Count 1, paragraph 2 charges that Defendant Spencer Pak conspired “to unlawfully,

            knowingly and intentionally distribute one hundred kilograms or more of marijuana, a

            Schedule I, controlled substance”;

       2.   Count 1, paragraph 3 charges that Defendant Spencer Pak conspired “to unlawfully,

            knowingly and intentionally distribute a mixture and substance containing a

            detectable amount of tetrahydrocannabinol (THC), a Schedule I, controlled

            substance”;

       3. Count 1, paragraph 7 charges that Defendant Spencer Pak conspired “to unlawfully,

            knowingly and intentionally manufacture, distribute and possess with the intent to

            manufacture and distribute 1,000 or more marijuana plants”;




1
    Case 1:19-cr-00057-LO Document 125 Filed 09/19/19 Page 2 of 4 PageID# 660



       4. Count 1, paragraph 12 charges that Defendant Spencer Pak conspired “to unlawfully,

          knowingly and intentionally sell drug paraphernalia and to use the mails and other

          facilities of interstate commerce to transport drug paraphernalia, that is, devices for

          use in compounding, converting, concealing, producing, processing, preparing,

          ingesting, inhaling, or otherwise introducing into the human body unlawful controlled

          substances, including THC and marijuana and products derived from marijuana”;

       5. Count 24 charges that Defendant Spencer Pak “knowing that he was an unlawful user

          of a (sp.) marijuana, a controlled substance, did unlawfully and knowingly possess, in

          and affecting commerce, a firearm, that is, a semiautomatic rifle, said firearm having

          travelled in interstate and foreign commerce”;

       6. Count 25 charges that Defendant Spencer Pak “knowing that he was an unlawful user

          of marijuana, a controlled substance, did unlawfully and knowingly possess, in and

          affecting commerce, a firearm, that is, a semiautomatic pistol, said firearm having

          travelled in interstate and foreign commerce”;

       7. Marijuana does not meet the requirements of schedule I and is illegally and/or

          improperly classified;

       8. Marijuana does not have a high potential for abuse;

       9. Marijuana has been approved for medical use in the thirty-three states, Guam, Puerto

          Rico, and the District of Columbia;

       10. Marijuana has been legalized for recreational use in Alaska, California, Colorado,

          Maine, Massachusetts, Nevada, Oregon, Washington and Washington, D.C.;

       11. The Attorney General has failed to remove marijuana from schedule I;




2
    Case 1:19-cr-00057-LO Document 125 Filed 09/19/19 Page 3 of 4 PageID# 661



       12. THC does not meet the requirements of schedule I and is illegally and/or improperly

          classified;

       13. THC does not have a high potential for abuse;

       14. THC has been approved for medical use in the thirty-three states, Guam, Puerto Rico,

          and the District of Columbia;

       15. THC has been legalized for recreational use in Alaska, California, Colorado, Maine,

          Massachusetts, Nevada, Oregon, Washington and Washington, D.C.;

       16. The Attorney General has failed to remove marijuana from schedule I;

       17. Such other and further grounds as may become apparent at the hearing on this

          motion.

                                                           Respectfully Submitted

                                                           Spencer Pak
                                                           By Counsel

s/Alan J. Cilman
Alan J. Cilman
VSB #13066
Counsel for Defendant
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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 19th day of September 2019, I will electronically file the
foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification
of such filing (NEF) to the following:

James Trump, AUSA and the other attorneys of record on behalf of the United States
Office of the United States Attorney
2100 Jamieson Avenue
Alexandria, VA 22314




3
    Case 1:19-cr-00057-LO Document 125 Filed 09/19/19 Page 4 of 4 PageID# 662



and, each of the attorneys of record for the co-defendants.



                                                     ______/s/______________
                                                     Alan J. Cilman
                                                     Virginia State Bar #13066
                                                     Counsel for Defendant
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4
